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6    Attorneys for Plaintiff Christopher Kohls

7
                             UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10    Christoper Kohls,                              Case No. 2:24-cv-02527-JAM-CKD

11                              Plaintiff,           Stipulation re Consolidation
      v.
12                                                   Judge: John A. Mendez
13    Rob Bonta, et al.,

14                              Defendants.
15

16    The Babylon Bee, LLC, et al.                   Case No. 2:24-cv-02787-JAM-CKD

17                              Plaintiffs,
      v.
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19    Rob Bonta, et al.

20                              Defendants.
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        Case 2:24-cv-02527-JAM-CKD         Document 19    Filed 10/22/24   Page 2 of 4


1                                          STIPULATION

2          1.    This Court recognized that the above-entitled actions are related within the

3    meaning of Local Rule 123. Dkt. 44.

4          2.    Plaintiffs in both above-entitled actions challenge the same two California

5    statutes: AB 2839 (Cal. Elec. Code § 20012) and AB 2655 (Cal. Elec. Code § 20510).

6          3.    Plaintiffs in both above-entitled actions bring the same or similar

7    constitutional claims against the same Defendants: California Attorney General Rob

8    Bonta and Secretary of State Shirley N. Weber.

9          4.    All parties in the above-entitled matters consent to consolidation of these

10   actions.

11         NOW THEREFORE, the parties hereby STIPULATE that:

12         5.    The above-entitled actions shall be consolidated.

13

14   DATED:      October 22, 2024

15

16    s/ Johannes Widmalm-Delphonse             s/ Kristin A. Liska
      Johannes Widmalm-Delphonse                (authorized 10.22.24)
17    VA Bar No. 96040
18    Alliance Defending Freedom                Rob Bonta
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                                                Counsel for Defendants Robert A. Bonta
26    Brian R. Chavez-Ochoa                     and Shirley N. Weber
27    CA Bar No. 190289
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                                    Stipulation re Consolidation 1
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8                                              Counsel for Plaintiff Christopher Kohls
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                                 Stipulation re Consolidation 2
         Case 2:24-cv-02527-JAM-CKD           Document 19   Filed 10/22/24   Page 4 of 4


1                                       PROOF OF SERVICE

2           I hereby certify that I filed a true and accurate copy of the foregoing document with

3    the Clerk of Court using the CM/ECF system, which automatically sends an electronic

4    notification to all counsel of record.

5

6
            DATED this 22nd day of October, 2024.
7
                                                     s/ Adam E. Schulman
8                                                    Adam E. Schulman
9                                                    Counsel for Plaintiff Christopher Kohls

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                                     Stipulation re Consolidation 3
